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IN THE UNITED STATES DISTRICT COURT m BY -- -- B-c-
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DNISION 05 JUL 25 H 3: 30
Tl'{)|WS M. GOULD
U.S. NSTR¥CT COURT
UNITED sTATEs oF AMERICA W OF YF'\:. %,Y§S.€F’i-if$

Plail'ltiff,
VS CR. NO. 05-20140-M1
LEONARD DAVIS

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set Report on Friday, July 22, 2005 at 9:00 a.m.
Counsel for the defendant requested a continuance of the present setting.
The continuance is necessary to allow for additional preparation in the
case.

The Court granted the request and continued the matter for a Change
of Plea hearing to wednesday, August 24, 2005 at 8:45 a.m. with a trial
date of Tuesday, September 6, 2005 at 9:30 a.m.

The period from August 12, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

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IT rs so oRDERED this the g'~> day of July, 2005.

WO.QQ.

JO PHIPPS MCCALLA
U ITED STATES DISTRICT JUDGE

 

Thie document entered on the docket Sheet in compliance
with me 55 and/or 32(b) FHch on '

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

